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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                       :
                                                :
             v.                                 :    CRIMINAL NUMBER:
                                                :
 ELMER STEWART RHODES III,                      :    22-cr-15-APM
 KELLY MEGGS,                                   :
 KENNETH HARRELSON,                             :
 JESSICA WATKINS,                               :
 ROBERTO MINUTA,                                :
 JOSEPH HACKETT,                                :
 DAVID MOERSCHEL,                               :
 THOMAS CALDWELL, and                           :
 EDWARD VALLEJO,                                :
                                                :
            Defendants.                         :

                  UNITED STATES’ MOTION TO UNSEAL FOR LIMITED
                       PURPOSE OF CREATING A TRANSCRIPT

       The United States respectfully moves the Court to enter the attached Proposed Order for

the limited purpose of allowing the parties to order a transcript from the sealed portion of the

hearing that took place on August 2, 2022.

                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             UNITED STATES ATTORNEY
                                             D.C. Bar Number 481052

                                    By:            /s/
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                                             Ahmed M. Baset
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                                       /s/
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                             Alexandra Hughes
                             Trial Attorneys
                             National Security Division,
                             United States Department of Justice
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 DAVID MOERSCHEL,                                   :
 THOMAS CALDWELL, and                               :
 EDWARD VALLEJO,                                    :
                                                    :
             Defendants.                            :

                                               ORDER

        A portion of the hearing that took place on August 2, 2022, was sealed. It is HEREBY

ordered that the court reporter is authorized to create a transcript of the sealed portion of the hearing

and provide that transcript to the parties. The sealed portion of the hearing shall remain sealed for

all other purposes.



Date: August __, 2022                                   ___________________________________
                                                        HONORABLE AMIT P. MEHTA
                                                        United States District Judge




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